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                             UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
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   11     Gary Peterson,                         Case No. 8:19-CV-01666-JVS-ADS
   12     Plaintiff,                             [PROPOSED] ORDER
          v.
   13
          City of Mission Viejo; and Does
   14     1-10, Inclusive,
          Defendants.
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   19           Having read the forgoing stipulation, it is hereby ordered that the
   20   mediation completion date be continued from October 30, 2019 to February
   21   19, 2020. The parties shall file a joint report regarding the results of the
   22   mediation by February 26, 2020.
   23
   24   Dated: ___________________            By ____________________________
                                                     Hon. James v. Selna
   25                                                United States District Judge
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        Order                                        8:19-CV-01666-JVS-ADS
